 Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 1 of 9 PageID 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
CALLPASS, LLC,                        §
                                      §                      JURY TRIAL DEMANDED
      Defendant.                      §
_____________________________________ §

                                           COMPLAINT

       Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” or “SPIS”) files this

Complaint against CallPass, LLC (“Defendant” or “CallPass”) for infringement of United States

Patent No. 9,261,365 (hereinafter “the ‘365 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with a virtual office located at 1801

NE 123 Street, Suite 314, Miami, FL 33181.

       4.      On information and belief, Defendant is a Florida corporation with its principal

office located at 4592 Ulmerton Road, Suite 201, Clearwater, Florida 33762. On information

and belief, Defendant may be served with process through its registered agent, Leslie Barnett,

601 Bayshore Blvd., Suite 700, Tampa, Florida 33606.



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                                            |1
  Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 2 of 9 PageID 2




5.      On information and belief, this Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this District, has

conducted business in this District, and/or has engaged in continuous and systematic activities

in this District.

        6.          On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                                 VENUE

        7.          On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to be a resident of this District. Alternatively, acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365)

        8.          Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.          This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.         Plaintiff is the owner by assignment of the ‘365 Patent with sole rights to enforce

the ‘365 Patent and sue infringers.

        11.         A copy of the ‘365 Patent, titled “Device, System and Method for Remotely

Entering, Storing and Sharing Addresses for a Positional Information Device,” is attached hereto

as Exhibit A.

        12.         The ‘365 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.         Upon information and belief, Defendant has infringed and continues to infringe



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                                                |2
 Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 3 of 9 PageID 3




one or more claims, including at least Claim 1, of the ‘365 Patent by making, using (at least by

having its employees, or someone under Defendant's control, test the accused Product),

importing, selling, and/or offering for sale associated hardware and software for asset locating

services (“Product”) covered by at least Claim 1 of the ‘365 Patent. Defendant has infringed and

continues to infringe the ‘365 patent either directly or through acts of contributory infringement

or inducement in violation of 35 U.S.C. § 271.

       14.     The Product provides a vehicle tracking system (e.g., CallPass’ iGotcha) that

provides or directs or controls a tracking and management software (i.e. iGotcha) for monitoring

real-time GPS locations to receive real-time locations of vehicles (i.e., location information)

through one or more positional information devices (e.g., desktop or mobile devices). Certain

aspects of this element are illustrated in the screenshot(s) below and/or in those provided in

connection with other allegations herein.




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                                           |3
  Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 4 of 9 PageID 4




        15.     The Product directs or controls or sends request(s) to show the real-time location

(i.e., at least one address stored) of different assets in an enterprise includes a first identifier (i.e.

user login ID and password of iGotcha software used in particular enterprise) of the requesting

positional information device (e.g., mobile device or desktop in which Software installed) to the

iGotcha cloud server for transmitting the location of the vehicle. Certain aspects of this element

are illustrated in the screenshot(s) below and/or in those provided in connection with other

allegations herein.




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                                                   |4
 Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 5 of 9 PageID 5




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                   |5
 Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 6 of 9 PageID 6




       16.     The Product directs or controls or receives at the requesting positional

information device, from the server, a retrieved at least one address to the requesting positional

information device. Specifically, the Product (iGotcha) cloud server transmits the position of

vehicle (i.e. at least one address) to the requesting positional information device (i.e. mobile

device or desktop in which software installed etc.). Certain aspects of this element are illustrated

in the screenshot(s) below and/or in those provided in connection with other allegations herein.




       17.     For the Product, the at least one address is received from the server at the

requesting positional information device. A second identifier for the second (sending) positional

information device is determined based on the first identifier. For example, before activating

the tracking device (i.e., sending positional information device), a unique asset tracking device

ID number (i.e., second identifier) is added to the user’s account under the user login ID and

password (i.e., the first identifier). Hence, the tracker’s activation device ID number (i.e., second



PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                                              |6
 Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 7 of 9 PageID 7




identifier) is mapped to the user’s login ID (i.e., the first identifier) for tracking the vehicle

location (address in the sending positional information device is retrieved). Certain aspects of

this element are illustrated in the screenshot(s) below and/or in those provided in connection

with other allegations herein.




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                                           |7
 Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 8 of 9 PageID 8




          18.    Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          19.    Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          20.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,261,365 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                                               |8
 Case 8:21-cv-00274-KKM-SPF Document 1 Filed 02/05/21 Page 9 of 9 PageID 9




Dated: February 5, 2021        Respectfully submitted,

                               /s/ Howard L. Wernow
                               Howard L. Wernow, B.C.S.
                               Fla Bar No. 107560
                               SAND SEBOLT & WERNOW CO., LPA
                               4940 Munson Street NW
                               Canton, Ohio 44718
                               Telephone: 330-244-1174
                               Facsimile: 330-244-1173
                               Howard.Wernow@sswip.com

                               Board Certified in Intellectual Property Law
                               by the Florida Bar

                               ATTORNEY FOR PLAINTIFF




PLAINTIFF’S COMPLAINT AGAINST DEFENDANT CALLPASS, LLC.                        |9
